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                           UN ITED STA TES D ISTR ICT COURT
                           SOUTHERN D ISTRICT OF FLOR IDA

                                        Case No.//-nooy a-
                                                         >-sggolvtwpncy g)
 UN ITED STATES OF AMER ICA ,                          FILED Ly              D.C.
                      Plaintiff,
 VS .                                                    JAN 2 2 2212
 (Eo se M AG N ,                                          STEVEN M LAAIMORE
                                                          CUERKu.k Dlsr.cm
                                                          s.D.oFFLA.-w.Re.

                      Defendant. /
                          ARRAIGNM ENT INFORMATION SHEET

        The above-named D fendant appeared before U .S. Magistrate Judge
 Axx s  .   vzTuxac on   / J?zhp/ /zp                      when the Defendant was
                          #        *
 arraigned and a plea of not guilty was entered . Defendant and geu+t-
 xppointed/retained counsel of record will be noticed for trial by the
            -
                                                                     -
 District Judqe assiqned to this case . The following information is
 current as of this date ;

        Defendant :                JailNo .   :V 7 /VV -W
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                                               W & LINV
                                   aaaress, N && '4 eeo - wœ A U

                                       No :

        Defense Counsel ;          Name : r+m g .> w A= z,#
                               Address:-7oo a .> w I e- - ,& s8=
                                        tou M AY AZ,FtBBHJJ
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        Bond Xtm.f'udcontinued ;
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 Dated this JO day o, â                uoxe        ,   aoza
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                                       Deputy Cl
